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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 PATRICIA KENNEDY, Individually,                      :
                                                      :
                Plaintiff,                            :
                                                      :
 v.                                                   :   Case No.
                                                      :
 MIROSLAW PELC and RENATA PELC d/b/a                  :
 WHITE HORSE MOTEL,                                   :
                                                      :
             Defendant.                               :
 _______________________________________/

                                           COMPLAINT
                                    (Injunctive Relief Demanded)

        Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

 individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendants,

 MIROSLAW PELC and RENATA PELC d/b/a WHITE HORSE MOTEL , (sometimes referred to

 as “Defendants”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant

 to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

        1.      Plaintiff is a Florida resident, residing in Broward County, is sui juris, and qualifies

 as an individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

 life activity of walking more than a few steps without assistive devices. Instead, Plaintiff is bound

 to ambulate in a wheelchair or with a cane or other support and has limited use of her hands.

        2.      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

 "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and determining

 whether places of public accommodation and their websites are in compliance with the ADA.

        3.      Defendants own, lease, lease to, or operate a place of public accommodation as

 defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104. The
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 place of public accommodation that the Defendants own, operate, lease or lease to is a place of

 lodging known as White Horse Motel, located at 1426 S. Federal Highway, Lake Worth, FL 33460,

 (hereinafter "Property").

         4.      Venue lies in the Southern District of Florida because the original transaction or

 occurrence giving rise to this cause of action, and the injury complained of, occurred in this District.

         5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

 original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

 Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

         6.      As the owners, lessors, lessees, or operators of the subject premises, Defendants are

 required to comply with the ADA. As such, Defendants are required to ensure that their place of

 lodging is in compliance with the standards applicable to places of public accommodation, as set

 forth in the regulations promulgated by the Department Of Justice. Said regulations are set forth in

 the Code Of Federal Regulations, the Americans With Disabilities Act Architectural Guidelines

 ("ADAAGs"), and the 2010 ADA Standards, incorporated by reference into the ADA. These

 regulations impose requirements pertaining to places of public accommodation, including places of

 lodging, to ensure that they are accessible to disabled individuals.

         7.      More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following requirement:

                 Reservations made by places of lodging. A public accommodation that owns,
                 leases (or leases to), or operates a place of lodging shall, with respect to reservations
                 made by any means, including by telephone, in-person, or through a third party -
                         (i) Modify its policies, practices, or procedures to ensure that individuals
                         with disabilities can make reservations for accessible guest rooms during the
                         same hours and in the same manner as individuals who do not need
                         accessible rooms;
                         (ii) Identify and describe accessible features in the hotels and guest rooms
                         offered through its reservations service in enough detail to reasonably permit



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                        individuals with disabilities to assess independently whether a given hotel or
                        guest room meets his or her accessibility needs;
                        (iii) Ensure that accessible guest rooms are held for use by individuals with
                        disabilities until all other guest rooms of that type have been rented and the
                        accessible room requested is the only remaining room of that type;
                        (iv) Reserve, upon request, accessible guest rooms or specific types of guest
                        rooms and ensure that the guest rooms requested are blocked and removed
                        from all reservations systems; and
                        (v) Guarantee that the specific accessible guest room reserved through its
                        reservations service is held for the reserving customer, regardless of whether
                        a specific room is held in response to reservations made by others.

 These regulations became effective March 15, 2012.

        8.      Defendants, either themselves or by and through a third party, implemented, operate,

 control and/or maintain certain websites for the Property which contains an online reservations

 system. These websites are located at: https://whitehorsemotel.com/;

 https://portal.freetobook.com/reservations?w_id=37797&w_tkn=IzSJLY68YKclOZhXyWgjPQ

 V7HKnqCKvocCiQ1ONHuMAkJLlXQHlDWcTejcSWB;

 https://www.booking.com/hotel/us/fourteen-twosix-sfederalhwy.html;

 https://www.agoda.com/white-horse-motel/hotel/lake-worth-fl-us.html?cid=-218;

 https://www.hotels.com/ho1062050528/white-horse-motel-lake-worth-united-states-of-america/;

 https://www.priceline.com/hotel-deals/h16101303/US/Florida/Lake-Worth/White-Horse-

 Motel.html; and

 https://www.expedia.com/Palm-Beach-West-Palm-Beach-Hotels-White-Horse-Motel.h33157829

 .Hotel-Information. The purpose of these websites is so that members of the public may reserve

 guest accommodations and review information pertaining to the goods, services, features, facilities,

 benefits, advantages, and accommodations of the Property. As such, these websites are subject to

 the requirements of 28 C.F.R. Section 36.302(e).



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         9.      Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

 purpose of reviewing and assessing the accessible features at the Property and ascertain whether they

 meet the requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs. However, Plaintiff

 was unable to do so because Defendants failed to comply with the requirements set forth in 28

 C.F.R. Section 36.302(e). The websites did not provide an option to book an accessible room. No

 information was given as to whether or where the property offers compliant or accessible roll-in

 showers, tubs, built in seating commodes, grab bars, sinks, wrapped pipes, sink and door hardware,

 properly located amenities, sufficient maneuvering spaces, compliant doors, furniture, controls and

 operating mechanisms. The websites do not contain any information as the accessibility of routes

 connecting all the features of the hotel, the transaction counter, parking, and common area

 restrooms. There is no information as to whether accessible rooms are on the ground floor or if an

 elevator is provided within an accessible route. Additionally, there is no information as to whether

 there is an accessible pool lift. As a result, Plaintiff was deprived the same goods, services, features,

 facilities, benefits, advantages, and accommodations of the Property available to the general public.

 Plaintiff's initial visit to the websites occurred on August 14, 2019.

         10.     In the near future, Plaintiff intends to revisit Defendants' websites and/or online

 reservations system in order to test it for compliance with 28 C.F.R. Section 36.302(e) and/or to

 utilize the websites to reserve a guest room and otherwise avail herself of the goods, services,

 features, facilities, benefits, advantages, and accommodations of the Property.

         11.     Plaintiff re-visited the websites on or about August 22, 2019; August 23, 2019;

 August 25, 2019; August 27, 2019; August 28, 2019; August 29, 2019; and August 30, 2019, and

 encountered the same conditions described above. Plaintiff is continuously aware that the subject



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 websites remain non-compliant and that it would be a futile gesture to revisit the websites as long

 as those violations exist unless she is willing to suffer additional discrimination.

        12.        The violations present at Defendants' websites infringe Plaintiff's right to travel free

 of discrimination and deprive her of the information required to make meaningful choices for travel.

 Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result of the

 discriminatory conditions present at Defendants' websites. By continuing to operate websites with

 discriminatory conditions, Defendants contribute to Plaintiff's sense of isolation and segregation and

 deprive Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges and/or

 accommodations available to the general public. By encountering the discriminatory conditions at

 Defendants' websites, and knowing that it would be a futile gesture to return to the websites unless

 she is willing to endure additional discrimination, Plaintiff is deprived of the same advantages,

 privileges, goods, services and benefits readily available to the general public. By maintaining a

 website with violations, Defendants deprive Plaintiff the equality of opportunity offered to the

 general public.

        13.        Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

 of the Defendants' discrimination until the Defendants are compelled to modify its websites to

 comply with the requirements of the ADA and to continually monitor and ensure that the subject

 websites remains in compliance.

        14.        Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

 the Defendants' non-compliance with the ADA with respect to these websites. Plaintiff has

 reasonable grounds to believe that she will continue to be subjected to discrimination in violation

 of the ADA by the Defendants.



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           15.   The Defendants have discriminated against the Plaintiff by denying her access to, and

 full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

 accommodations of the subject websites.

           16.   The Plaintiff and all others similarly situated will continue to suffer such

 discrimination, injury and damage without the immediate relief provided by the ADA as requested

 herein.

           17.   Defendants have discriminated against the Plaintiff by denying her access to full and

 equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

 of its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et seq.

 and 28 C.F.R. 36.302(e). Furthermore, the Defendants continue to discriminate against the Plaintiff,

 and all those similarly situated by failing to make reasonable modifications in policies, practices or

 procedures, when such modifications are necessary to afford all offered goods, services, facilities,

 privileges, advantages or accommodations to individuals with disabilities; and by failing to take such

 efforts that may be necessary to ensure that no individual with a disability is excluded, denied

 services, segregated or otherwise treated differently than other individuals because of the absence

 of auxiliary aids and services.

           18.   Plaintiff is without adequate remedy at law and is suffering irreparable harm.

 Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

 litigation expenses from the Defendants pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

           19.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

 Injunctive Relief, including an order to require the Defendants to alter the subject websites to make

 them readily accessible and useable to the Plaintiff and all other persons with disabilities as defined



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 by the ADA and 28 C.F.R. Section 36.302(e); or by closing the websites until such time as the

 Defendant cures its violations of the ADA.

        WHEREFORE, Plaintiff respectfully requests:

        a.     The Court issue a Declaratory Judgment that determines that the Defendants at the

               commencement of the subject lawsuit are in violation of Title III of the Americans

               with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

        b.     Injunctive relief against the Defendants including an order to revise their websites

               to comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor

               and maintain the website to ensure that it remains in compliance with said

               requirement.

        c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

               § 12205.

        d.     Such other relief as the Court deems just and proper, and/or is allowable under

               Title III of the Americans with Disabilities Act.

               Respectfully Submitted,

                                              Attorneys for Plaintiff

                                              Kathy L. Houston, Esq., Of Counsel
                                              Thomas B. Bacon, P.A.
                                              15321 S. Dixie Hwy., Suite 205
                                              Miami, FL 33157
                                              Phone: (305) 420-6609
                                              Fax: (786) 441-4416
                                              Email: khouston@houstonlawfl.com
                                              and    tbb@thomasbaconlaw.com

                                                /s/ Kathy L. Houston
                                              Kathy L. Houston, Esq.
                                              FBN: 56042




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